Case 13-02162-RLM-11    Doc 158       Filed 09/02/14          EOD 09/02/14 14:17:22         Pg 1 of 26




                     UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF INDIANA
                          INDIANAPOLIS DIVISION
            In re:                               !
            !                                    !
            Stephen & Teresa Schmaltz                 Case No: 13-02162–11
            !
                           Debtors


                                             !
             !
                                       Immaterially
                                     Modified Debtor’s
                                         Plan Of
                                      Reorganization
            !

                                                 This	  plan	  is	  for	  Stephen	  
                                                 Schmaltz	  only.	  




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            !
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                                             1
Case 13-02162-RLM-11   Doc 158   Filed 09/02/14   EOD 09/02/14 14:17:22   Pg 2 of 26



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                                        2
Case 13-02162-RLM-11          Doc 158          Filed 09/02/14             EOD 09/02/14 14:17:22                 Pg 3 of 26



            !
                                               Table of Contents
             1. Definitions ................................................................................4
            !2. Introduction ..............................................................................8
            !3. Treatment   Of Administrative Expense Claims And Priority Tax
                 Claims And Other Priority Claims .............................................8
            !4. Classification Of Classes Of Claims And Interests.....................10
            !5. Treatment Of Claims ...............................................................10
            !6. Provisions Governing Distributions ...........................................16
            !7. Means Of Eﬀectuating The Plan...............................................16
            !8. Executory Contracts .................................................................17
            !9. Property To Be Dealt With By The Plan ....................................17
            !10. Reservation Of Rights...............................................................17
            !11. Jurisdiction Of The Court .......................................................18
            !12. Eﬀect Of Confirmation Of The Plan ........................................20
            !13. Exculpation ............................................................................20
            !14. Miscellaneous Provisions...........................................................21
            !
            !
            !
            !
            !
            !
            !
            !
            !
            !
            !
            !
            !
            !
            !
                                                           3
Case 13-02162-RLM-11     Doc 158     Filed 09/02/14     EOD 09/02/14 14:17:22        Pg 4 of 26



            Pursuant to 11 U.S.C. §101 et seq. of the United States Bankruptcy
            Code, the Debtor-in-Possession in the above-referenced Case hereby
            proposes to the creditors of the Debtor, the following Plan of
            Reorganization of the Debtor in satisfaction and discharge of all
            existing Claims against and Interests in the Debtor.
            1. Definitions
               1.1. All terms used in this Plan, unless otherwise defined in this
               section or given diﬀerent meaning as required in the text herein,
               are as defined in the Bankruptcy Code. The following terms shall
               have the meaning set forth in this section:
               1.2. Administrative Expense Claim means any right to payment
               constituting a cost or expense of administration of the Chapter 11
               Case under §§ 503(b) and 507(a)(2) of the Bankruptcy Code,
               including, without limitation, any actual and necessary costs and
               expenses of preserving the estate of the Debtor, any costs and
               expenses of the Debtor in connection with the administration and
               implementation of the Plan, all compensation and reimbursement
               of expenses to the extent allowed by the Bankruptcy Court under
               §§ 330 and 503 of the Bankruptcy Code and any fees or charges
               assessed against the estate of the Debtor under 28 U.S.C. § 1930.
               1.3. Allowed means, with reference to a Claim: (a) any Claim as to
               which a proof of Claim is filed in this proceeding against the
               Debtor in a timely manner and as to which no objection has been
               or is hereafter filed; (b) any Claim allowed hereunder; (c) any
               Claim that is compromised, settled or otherwise resolved pursuant
               to a Final Order of the Bankruptcy Court or under the Plan; or
               (d) any Claim which, if disputed, has been allowed by Final Order.
               Claims allowed solely for the purpose of voting to accept or reject
               the Plan pursuant to an order of the Bankruptcy Court shall not be
               considered Allowed Claims hereunder. Unless otherwise specified
               herein or by order of the Bankruptcy Court, Allowed
               Administrative Expense Claims and Allowed Claims shall not, for
               any purpose under the Plan include interest, punitive damages or
               any fine or penalty on such Allowed Administrative Expense
               Claim or Allowed Claim from and after the Petition Date. For
               purposes of determining the amount of an Allowed Claim, there
               shall be deducted therefrom an amount equal to the amount of any
               Claim which the Debtor may hold against the holder thereof, to
               the extent such Claim may be setoﬀ pursuant to § 553 of the
               Bankruptcy Code.




                                             4
Case 13-02162-RLM-11     Doc 158      Filed 09/02/14      EOD 09/02/14 14:17:22        Pg 5 of 26



               1.4. Approving Order means the Order entered by the
               Bankruptcy Court on November 27, 2013 [docket #76] approving
               the Stipulation.
               1.5. Ash is Judith A. Ash.
               1.6. Bankruptcy Code means the version of the United States
               Bankruptcy Code, 11 U.S.C. §101 et seq., in eﬀect on the Petition
               Date.
               1.7. Bankruptcy Court means the United States Bankruptcy
               Court for the Southern District of Indiana, Indianapolis Division.
               1.8. Bankruptcy Rules means the version of the Federal Rules of
               Bankruptcy Procedure in eﬀect on the Petition Date.
               1.9. Baxter means Andrea L. Baxter.
               1.10. Case means the above-captioned bankruptcy proceeding of
               the Debtor.
               1.11. Citimortgage means Citimortgage, Inc.
               1.12. Claim means that definition of a claim under §101(5) of the
               Bankruptcy Code defining a claim as (a) right to payment, whether
               or not such right is reduced to judgment, liquidated, unliquidated,
               fixed, contingent, matured, unmatured, disputed, undisputed,
               legal, equitable, secured, or unsecured; or (b) right to an equitable
               remedy for breach of performance if such breach gives rise to a
               right to payment, whether or not such right to an equitable remedy
               is reduced to judgment, fixed, contingent, matured, unmatured,
               disputed, undisputed, secured or unsecured.
               1.13.Class means any class into which Claims or Equity Interests
               are classified pursuant to this Plan.
               1.14.Confirmation Date means the date upon which the Order of
               Confirmation is entered by the Bankruptcy Court.
               1.15. Consummation of the Plan means the accomplishment of
               payment in full to all Claims pursuant to section 3.2 and 3.3.
               1.16. Debtor means the Debtor, Stephen Schmaltz, named in the
               caption of this Case.
               1.17. DCT. Means the Delaware County, Indiana Treasurer.
               1.18. Disclosure Statement means the disclosure statement of the
               Debtor, filed contemporaneously with this Plan pursuant to § 1125
               of the Bankruptcy Code.




                                              5
Case 13-02162-RLM-11    Doc 158      Filed 09/02/14     EOD 09/02/14 14:17:22        Pg 6 of 26



               1.19. Disputed Claim means any Claim which has been listed as
               “disputed”, “contingent” or “unliquidated” in the Debtor’s
               schedules or as to which an objection to the allowance of which is
               interposed, which objection has not been determined as of the
               Eﬀective Date.
               1.20. Eﬀective Date means the date on which the Order of
               Confirmation of the Plan is no longer subject to appeal or
               certiorari proceedings, on which date no such appeal or certiorari
               proceedings are then pending and on which date all of the
               conditions of the eﬀectiveness of the Plan expressly set forth in
               the Plan have been satisfied fully, or eﬀectively waived.
               1.21. Equity Interests means all rights arising out of ownership of
               Property of the Debtor.
               1.22. Fannie Mae means the Federal National Mortgage
               Association.
               1.23. Final Order means an order of a court from which no appeal
               can be taken, or as to which all appeals have been withdrawn or
               dismissed with prejudice.
               1.24. Finally Determined means for all purposes related to the
               Claim to which objections have been made, the date on which an
               order allowing, disallowing or in part allowing or disallowing that
               Claim becomes a Final Order.
               1.25. General Unsecured Claim means a Claim that is entitled to
               priority under §726(a)(2).
               1.26. IDR means the State of Indiana, through its Indiana
               Department of Revenue.
               1.27. IRS means the United States of America, through its
               Internal Revenue Service.
               1.28. MSD means the Muncie Sanitary District.
               1.29. MutualBank mean MutualBank f/k/a Mutual Federal
               Savings Bank.
               1.30. Net Monthly Income means the sum determined by
               deducting from the Debtor’s gross monthly income all on-going
               expenses of the Reorganized Debtor.
               1.31. Order of Confirmation means the order entered by the
               Court confirming the Plan in accordance with the provisions of
               Chapter 11 of the Bankruptcy Code.



                                              6
Case 13-02162-RLM-11    Doc 158      Filed 09/02/14      EOD 09/02/14 14:17:22        Pg 7 of 26



               1.32. Other Priority Claim means a priority Claim specified in §
               507 of the Bankruptcy Code other than an Administrative Expense
               Claim or a Priority Tax Claim.
               1.33. Petition Date means the date on which the Debtor filed his
               petition for relief in this Case with the Bankruptcy Court, which in
               this case is March 12, 2014.
               1.34. Plan means this plan of reorganization in its present form or
               as it may be modified or supplemented.
               1.35. Priority Tax Claim means any unsecured Claim of a
               governmental unit of the kind specified in § 507(a)(8) of the
               Bankruptcy Code.
               1.36. Property means any interest or claim of the Debtor in any
               kind of property or asset, whether real, personal, tangible,
               intangible or mixed.
               1.37. Pro-Rata means the portion that an Allowed Claim in a
               particular class bears to the aggregate amount of Allowed Claims
               in such class.
               1.38. Reorganized Debtor means the status of the Debtor after
               the confirmation of the Plan.
               1.39. Secured Claim means a Claim: (1) secured by liens, security
               interest, or other charges against or interest in any Property in
               which the Debtor has an interest; and (2) to the extent of the value
               (determined in accordance with §506(a) of the Bankruptcy Code)
               of the interest of the holder of such Claim in the Debtor’s interest
               in such Property.
               1.40. Secured Tax Claim means a secured claim which would
               otherwise meet the description of a Priority Tax Claim.
               1.41. Stipulation means the Stipulation For Use Of Cash Collateral
               And Adequate Protection filed on November 25, 2013 [docket #75].
               1.42. Interpretation, Application of Definitions and Rules of
               Construction. Wherever from the context it appears appropriate,
               each term stated in either the singular or the plural shall include
               both the singular and the plural and pronouns stated in the
               masculine, feminine or neuter gender shall include the masculine,
               feminine and neuter. Unless otherwise specified, all references to
               section, schedule or exhibit in the Plan are to the respective
               section in, schedule to, or exhibit to, the Plan. The words
               “herein” “hereof” “hereto” “hereunder” and other words of
               similar import refer to the Plan as a whole and not to any


                                              7
Case 13-02162-RLM-11     Doc 158      Filed 09/02/14      EOD 09/02/14 14:17:22        Pg 8 of 26



               particular section, subsection or clause contained in the Plan. The
               rules of construction contained in § 102 of the Bankruptcy Code
               shall apply to the construction of the Plan. A term used herein that
               is not defined herein, but that is used in the Bankruptcy Code,
               shall have the meaning ascribed to that term in the Bankruptcy
               Code. The headings in the Plan are for convenience or reference
               only and shall not limit or otherwise aﬀect the provisions of the
               Plan.
            2. introduction
               2.1. The Debtor is individual who resides in and who owns
               residential rental properties in Muncie, Indiana. The Debtor’s
               property consists primarily of 10 rental properties. The Debtor
               generally rents the properties to Ball State University students.
               2.2.This plan proposes existing equity continue owning and
               operating the 10 rental properties for income. Pursuant to the
               plan, secured creditors MutualBank, Ash, Fannie Mae and
               Citimortgage will be paid in full on their secured claims in a
               commercially reasonable amount of time. Priority and secured tax
               claims and child support claims will also be paid in full.
               2.3. The Debtor believes this plan is in the best interest of their
               creditors as a whole. This plan provides all creditors, including all
               secured creditors, more than what they would receive in a chapter
               7 liquidation.
               2.4. Debtor’s wife, Teresa Schmaltz, will be moving this Court to
               de-consolidate this case and upon de-consolidation, convert her
               case a case under Chapter 7. Since there is no equity in any of the
               rental properties, it is anticipated those assets will be abandoned
               from her Chapter 7 estate and revert back to her. To the extant
               that happens, the Debtor and Teresa Schmaltz may decide to
               transfer title in the rental properties to the Debtor alone to the
               extent they are jointly titled now.
            3. treatment of administrative expense claims
               and priority tax claims and other priority
               claims
               3.1. Non-Classification. As provided in § 1123(a) of the
               Bankruptcy Code, Administrative Expense Claims are not
               classified for the purposes of voting on or receiving distributions
               under the Plan. All such Claims are instead treated separately
               pursuant to the terms set forth in this section.



                                              8
Case 13-02162-RLM-11     Doc 158      Filed 09/02/14      EOD 09/02/14 14:17:22        Pg 9 of 26



               3.2. Administrative Expense Claims. Except to the extent that
               any entity entitled to payment of an Allowed Administrative
               Expense Claim agrees to a less favorable treatment, each holder of
               an Allowed Administrative Expense Claim shall receive cash in an
               amount equal to such Allowed Administrative Claim on the later
               of the Eﬀective Date and the date such Administrative Expense
               Claim becomes an Allowed Administrative Expense Claim, or as
               soon thereafter as is practicable; provided, however, that Allowed
               Administrative Expense Claims representing liabilities incurred in
               the ordinary course shall be paid in full by the Reorganized Debtor
               in accordance with the terms and subject to the conditions of any
               agreements governing, instruments evidencing, or other
               documents relating to such transactions.
               3.3. Professional Compensation and Reimbursement Claims.
               All entities seeking an award by the Bankruptcy Court of
               compensation for services rendered or reimbursement of expenses
               incurred through and including the Eﬀective Date under §§ 330 or
               331 of the Bankruptcy Code or entitled to the priorities established
               pursuant to § 503 of the Bankruptcy Code shall (a) file their
               respective final applications for allowances of compensation for
               services rendered and reimbursement of expenses incurred
               through the Eﬀective Date by no later than the date which is thirty
               (30) days after the Eﬀective Date, or such other date as may be
               fixed by the Bankruptcy Court, and (b) if granted such an award by
               the Bankruptcy Court, be paid in full in cash in such amounts as
               are allowed by the Bankruptcy Court, on the date which such
               Administrative Expense Claim becomes an Allowed
               Administrative Expense Claim, or as soon thereafter as is
               practicable.
               3.4. Priority and Secured Tax Claims under §507(a)(8). The
               Allowed Priority Tax Claims and Allowed Secured Tax Claims
               shall be paid with interest at the applicable statutory interest rate
               in eﬀect on the Confirmation Date, in four, consecutive, equal
               quarterly installment payments, beginning with the first full
               quarter following the Confirmation Date or from the date which
               such Priority Tax Claim Claim or Allowed Secured Tax Claim
               becomes an Allowed Priority Tax Claim or Allowed Secured Tax
               Claim, whichever is later. Payments shall be on the last day of the
               quarter. The Debtor shall have up to 5 years from the date which
               such Priority Tax Claim Claim or Allowed Secured Tax Claim
               becomes an Allowed Priority Tax Claim or Allowed Secured Tax
               Claim or the Confirmation Date, whichever is later, for payment of


                                              9
Case 13-02162-RLM-11   Doc 158      Filed 09/02/14      EOD 09/02/14 14:17:22        Pg 10 of 26



               such claim. Only the IRS and the IDR are anticipated to have
               claims. The Debtor does not believe there is any Allowed Secured
               Claim because the Debtor had no equity in any property on the
               Petition Date for any tax lien to attach.
            4. classification of classes of claims and
               interests
               4.1. All Claims and Equity Interests arising from the past or
               present debt of, or an interest in the Debtor shall be bound by the
               provisions of this Plan. Such Claims and Equity Interests are
               hereby classified as follows:
                  4.1.1. Class 1: Allowed Secured Claim of MutualBank.
               Class 1 consists of the Allowed Secured Claim of MutualBank,
               such debt being secured by liens on the Debtor’s real property.
                  4.1.2. Classes 2-7: Allowed Secured Claims of Fannie Mae.
               Classes 2-7 consists of the Allowed Secured Claims of Fannie
               Mae, such debts being secured by separate mortgage liens on the
               Debtor’s rental real properties.
                  4.1.3. Class 8: Allowed Secured Claim of Citimortgage.
               Class 8 consists of the Allowed Secured Claim of Citimortgage,
               such debt being secured by liens on the Debtor’s real property.
                   4.1.4.Class 9: Allowed Secured Claim of Ash. Class 9
               consists of the Allowed Secured Claim of Ash, such debt being
               secured by a second lien on of the Debtor’s rental properties.
                   4.1.5.Class 10: Allowed Secured Tax Claim of the DCT.
               Class 10 consists of the Allowed Secured Claim of the DCT for
               real property taxes, such debt being secured by a statutory lien
               against the Debtor’s real property.
                   4.1.6.Class 11: Allowed Secured Claim of the MSD. Class 11
               consists of the Allowed Secured Claim of the MSD for any
               statutory or judgment lien against the Debtor’s real property.
                   4.1.7.Class 12: Allowed Priority Unsecured Claim of
               Baxter. Class 12 consists of the Allowed Priority Unsecured
               Claim of Baxter for child support.
                   4.1.8. Class 13: Allowed General Unsecured Claims. Class
               13 consists of all other Allowed General Unsecured Claims,
               including claims arising from the rejection of executory contracts.
            5. treatment of claims
               5.1. Class 1 - Allowed Secured Claim Of MutualBank


                                             10
Case 13-02162-RLM-11    Doc 158      Filed 09/02/14     EOD 09/02/14 14:17:22         Pg 11 of 26



                   5.1.1. Impairment and Voting. Class 1 is impaired by the Plan.
               The holder of the Allowed Secured Claim of MutualBank is
               entitled to vote to accept or reject the Plan.
                    5.1.2. Distribution. The Allowed Secured Claim of
               MutualBank has already been determined and Allowed by the
               Stipulation and Approving Order in the amount of $126,000.
               Payment of the Allowed Secured Claim shall be in accordance
               with the Stipulation. All terms of the Stipulation shall continue in
               full force and eﬀect and shall remain unaltered by the Plan.
               Without altering or amending the Stipulation, and by way of
               description only, a summary of the Stipulation terms include the
               following: (a) MutualBank shall retain it judgment lien on 2405
               North Rosewood Avenue, Muncie, Indiana and 2104 North
               Glenwood Avenue, Muncie, Indiana; (b) upon confirmation,
               MutualBank shall release its judgment lien from all other
               properties of the Debtor (except for 3211 West Bethel Avenue,
               Muncie, Indiana, for which the Debtor must pay $1,500 to secure
               a release); (c) payments on the Allowed Secured Claim of
               MutualBank shall be amortized over a 25-year term and payable
               over 15 years with a balloon due at the end of 15 years; (d)
               payments are in the amount of $818.48 plus escrows for taxes and
               insurance; (e) the balloon payment is $74,259.09; and (f ) payment
               on the Allowed Secured Claim of MutualBank is non-recourse to
               the Debtor.
               5.2. Class 2 – Allowed Secured Claim Of Fannie Mae (1213
               West Rex Street)
                   5.2.1. Impairment and Voting. Class 2 is impaired by the
               Plan. The holder of the Allowed Secured Claim of Fannie Mae
               secured by a mortgage on 1213 West Rex St., Muncie, Indiana is
               entitled to vote to accept or reject the Plan.
                    5.2.2. Distribution. The holder of the Allowed Secured
               Claim of Fannie Mae secured by a mortgage on 1213 West Rex St.,
               Muncie, Indiana shall receive payment in full on the Allowed
               Secured Claim of Fannie Mae over a period of 360 months with
               interest at 3.25%. The first of the 360 monthly installment
               payments shall be made on the first day of the first full month
               following the Confirmation Date or the date the claim becomes an
               Allowed Secured Claim, whichever is later. To eﬀect this
               provision, Fannie Mae shall receive the following new loan
               documents: installment promissory note; mortgage; and
               assignment of leases and rents. All existing loan documents shall


                                              11
Case 13-02162-RLM-11   Doc 158      Filed 09/02/14     EOD 09/02/14 14:17:22        Pg 12 of 26



               be cancelled. Fannie Mae’s collateral is limited to 1213 West Rex
               St., Muncie, Indiana. Taxes and insurance with respect to such
               property shall be paid directly by the Debtor.
               5.3. Class 3 – Allowed Secured Claim Of Fannie Mae (3804
               West Silver Lane)
                   5.3.1. Impairment and Voting. Class 3 is impaired by the Plan.
               The holder of the Allowed Secured Claim of Fannie Mae secured
               by a mortgage on 3804 West Silver Ln., Muncie, Indiana is
               entitled to vote to accept or reject the Plan.
                    5.3.2. Distribution. The holder of the Allowed Secured
               Claim of Fannie Mae secured by a mortgage on 3804 West Silver
               Ln., Muncie, Indiana shall receive payment in full on the Allowed
               Secured Claim of Fannie Mae over a period of 360 months with
               interest at 3.25%. The first of the 360 monthly installment
               payments shall be made on the first day of the first full month
               following the Confirmation Date or the date the claim becomes an
               Allowed Secured Claim, whichever is later. To eﬀect this
               provision, Fannie Mae shall receive the following new loan
               documents: installment promissory note; mortgage; and
               assignment of leases and rents. All existing loan documents shall
               be cancelled. Fannie Mae’s collateral is limited to 3804 West
               Silver Ln., Muncie, Indiana. Taxes and insurance with respect to
               such property shall be paid directly by the Debtor.
               5.4.Class 4 – Allowed Secured Claim Of Fannie Mae (518
               North Dicks St.)
                   5.4.1. Impairment and Voting. Class 4 is impaired by the
               Plan. The holder of the Allowed Secured Claim of Fannie Mae
               secured by a mortgage on 518 North Dicks St., Muncie, Indiana is
               entitled to vote to accept or reject the Plan.
                    5.4.2. Distribution. The holder of the Allowed Secured
               Claim of Fannie Mae secured by a mortgage on 518 North Dicks
               St., Muncie, Indiana shall receive payment in full on the Allowed
               Secured Claim of Fannie Mae over a period of 360 months with
               interest at 3.25%. The first of the 360 monthly installment
               payments shall be made on the first day of the first full month
               following the Confirmation Date or the date the claim becomes an
               Allowed Secured Claim, whichever is later. To eﬀect this
               provision, Fannie Mae shall receive the following new loan
               documents: installment promissory note; mortgage; and
               assignment of leases and rents. All existing loan documents shall



                                             12
Case 13-02162-RLM-11    Doc 158      Filed 09/02/14      EOD 09/02/14 14:17:22         Pg 13 of 26



               be cancelled. Fannie Mae’s collateral is limited to 518 North Dicks
               St., Muncie, Indiana. Taxes and insurance with respect to such
               property shall be paid directly by the Debtor.
               5.5. Class 5 – Allowed Secured Claim Of Fannie Mae (1305
               North New York Avenue)
                   5.5.1. Impairment and Voting. Class 5 is impaired by the
               Plan. The holder of the Allowed Secured Claim of Fannie Mae
               secured by a mortgage on 1305 North New York Ave., Muncie,
               Indiana is entitled to vote to accept or reject the Plan.
                   5.5.2. Distribution. The holder of the Allowed Secured
               Claim of Fannie Mae secured by a mortgage on 1305 North New
               York Ave., Muncie, Indiana shall receive payment in full on the
               Allowed Secured Claim of Fannie Mae over a period of 360
               months with interest at 3.25%. The first of the 360 monthly
               installment payments shall be made on the first day of the first full
               month following the Confirmation Date or the date the claim
               becomes an Allowed Secured Claim, whichever is later. To eﬀect
               this provision, Fannie Mae shall receive the following new loan
               documents: installment promissory note; mortgage; and
               assignment of leases and rents. All existing loan documents shall
               be cancelled. Fannie Mae’s collateral is limited to 1305 North New
               York Ave., Muncie, Indiana. Taxes and insurance with respect to
               such property shall be paid directly by the Debtor.
               5.6. Class 6 – Allowed Secured Claim Of Fannie Mae (1217
               West Rex Street)
                   5.6.1. Impairment and Voting. Class 6 is impaired by the
               Plan. The holder of the Allowed Secured Claim of Fannie Mae
               secured by a mortgage on 1217 West Rex ST., Muncie, Indiana is
               entitled to vote to accept or reject the Plan.
                    5.6.2. Distribution. The holder of the Allowed Secured
               Claim of Fannie Mae secured by a mortgage on 1217 West Rex St.,
               Muncie, Indiana shall receive payment in full on the Allowed
               Secured Claim of Fannie Mae over a period of 360 months with
               interest at 3.25%. The first of the 360 monthly installment
               payments shall be made on the first day of the first full month
               following the Confirmation Date or the date the claim becomes an
               Allowed Secured Claim, whichever is later. To eﬀect this
               provision, Fannie Mae shall receive the following new loan
               documents: installment promissory note; mortgage; and
               assignment of leases and rents. All existing loan documents shall



                                              13
Case 13-02162-RLM-11    Doc 158      Filed 09/02/14     EOD 09/02/14 14:17:22         Pg 14 of 26



               be cancelled. Fannie Mae’s collateral is limited to 1217 West Rex
               St., Muncie, Indiana. Taxes and insurance with respect to such
               property shall be paid directly by the Debtor.
               5.7. Class 7 – Allowed Secured Claim Of Fannie Mae (1225
               West Rex Street)
                   5.7.1. Impairment and Voting. Class 7 is impaired by the Plan.
               The holder of the Allowed Secured Claim of Fannie Mae secured
               by a mortgage on 1225 West Rex St., Muncie, Indiana is entitled to
               vote to accept or reject the Plan.
                    5.7.2. Distribution. The holder of the Allowed Secured
               Claim of Fannie Mae secured by a mortgage on 1225 West Rex St.,
               Muncie, Indiana shall receive payment in full on the Allowed
               Secured Claim of Fannie Mae over a period of 360 months with
               interest at 3.25%. The first of the 360 monthly installment
               payments shall be made on the first day of the first full month
               following the Confirmation Date or the date the claim becomes an
               Allowed Secured Claim, whichever is later. To eﬀect this
               provision, Fannie Mae shall receive the following new loan
               documents: installment promissory note; mortgage; and
               assignment of leases and rents. All existing loan documents shall
               be cancelled. Fannie Mae’s collateral is limited to 1225 West Rex
               St., Muncie, Indiana. Taxes and insurance with respect to such
               property shall be paid directly by the Debtor.
               5.8.Class 8 - Allowed Secured Claim of Citimortgage
                   5.8.1. Impairment and Voting. Class 8 is impaired by the
               Plan. The holder of the Allowed Secured Claim of Citimortgage is
               entitled to vote to accept or reject the Plan.
                    5.8.2. Distributions. The holder of the Allowed Secured
               Claim of Citimortgage secured by a mortgage on 1221 West Rex
               St., Muncie, Indiana shall receive payment in full on the Allowed
               Secured Claim of Citimortgage over a period of 360 months with
               interest at 3.25%. The first of the 360 monthly installment
               payments shall be made on the first day of the first full month
               following the Confirmation Date or the date the claim becomes an
               Allowed Secured Claim, whichever is later. To eﬀect this
               provision, Citimortgage shall receive the following new loan
               documents: installment promissory note; mortgage; and
               assignment of leases and rents. All existing loan documents shall
               be cancelled. Citimortgage’s collateral is limited to 1221 West Rex,
               Muncie, Indiana. Debtor is abandoning any interest they have in



                                              14
Case 13-02162-RLM-11    Doc 158      Filed 09/02/14     EOD 09/02/14 14:17:22         Pg 15 of 26



               7020 Nebo Road, Muncie, Indiana. Taxes and insurance with
               respect to such property shall be paid directly by the Debtor.
               5.9. Class 9 - Allowed Secured Claim of Ash
                   5.9.1. Impairment and Voting. Class 9 is unimpaired by the
               Plan. The holder of the Allowed Secured Claim of Ash is not
               entitled to vote to accept or reject the Plan.
                   5.9.2. Distributions. The holder of the Allowed Secured
               Claim of Ash secured by a second mortgage on 3804 Silver,
               Muncie, Indiana shall continue receiving regular mortgage
               payments in accordance with pre-Petition loan agreements.
               5.10. Class 10 – Allowed Secured Tax Claim Of DCT
                   5.10.1. Impairment and Voting. Class 10 is impaired by the
               Plan. The holder of the Allowed Secured Tax Claim of the DCT is
               entitled to vote to accept or reject the Plan.
                   5.10.2. Distribution. The holder of the Allowed Secured Tax
               Claim of the DCT shall receive monthly installment payments
               over sixty (6o) months. The first installment payment shall be
               made on the first day of the first full month following the
               Confirmation Date or the date the claim becomes an Allowed
               Secured Tax Claim, whichever is later.
               5.11.Class 11 – Allowed Secured Claim Of MSD
                   5.11.1. Impairment and Voting. Class 11 is impaired by the
               Plan. The holder of the Allowed Secured Claim of the MSD is
               entitled to vote to accept or reject the Plan.
                   5.11.2. Distribution. The holder of the Allowed Secured
               Claim of the MSD shall receive monthly installment payments
               over sixty (6o) months. The first installment payment shall be
               made on the first day of the first full month following the
               Confirmation Date or the date the claim becomes an Allowed
               Secured Claim, whichever is later.
               5.12. Class 12 - Allowed Priority Unsecured Claim of Baxter
                   5.12.1. Impairment and Voting. Class 12 is impaired by the
               Plan. The holder of the Allowed Priority Unsecured Claim of
               Baxter is entitled to vote to accept or reject the Plan.
                   5.12.2. Distributions. The holder of the Allowed Priority
               Unsecured Claim of Baxter shall receive monthly installment
               payments over sixty (6o) months. The first installment payment
               shall be made on the first day of the first full month following the


                                              15
Case 13-02162-RLM-11    Doc 158      Filed 09/02/14      EOD 09/02/14 14:17:22         Pg 16 of 26



               Confirmation Date or the date the claim becomes an Allowed
               Priority Unsecured Claim of Baxter, whichever is later.
               5.13. Class 13 - Allowed General Unsecured Claims
                   5.13.1. Impairment and Voting. Class 13 is impaired by the
               Plan. The holders of the Allowed General Unsecured Claims are
               entitled to vote to accept or reject the Plan.
                    5.13.2. Distributions. The Debtor shall pay a Pro-Rata
               dividend of one percent (1.0%) on all Allowed General Unsecured
               Claims in Classes 12 to be paid in two, equal installments, on the
               first and second anniversary dates of the Confirmation Date.
            6. provisions governing distributions
               6.1. Distributions of Cash. All distributions under the Plan shall
               be made by the Reorganized Debtor in accordance with the
               priorities established by the Plan. At the option of the Reorganized
               Debtor, any cash payments to be made pursuant to the Plan may
               be made by check or wire transfer.
               6.2. Delivery of Distributions. Distributions to the holders of
               Allowed Claims will be made at the address set forth in the proof
               of claim filed by holders of Claims, unless the Reorganized Debtor
               receives written notice of address change after the date of filing of
               any proof of claim.
               6.3. Undeliverable and Unclaimed Distributions. If any
               holder’s distribution is returned as undeliverable, the Reorganized
               Debtor will take reasonable steps to attempt to deliver the
               distribution to the holder of the Allowed Claim. Any holder of an
               Allowed Claim that does not advise the Reorganized Debtor that it
               has not received the distribution within six (6) months after the
               date of attempted distribution will have the claim for such
               undeliverable distribution discharged and will be forever barred
               from asserting any such claim against the Reorganized Debtor or
               the Property. Distributions must be negotiated within 120 days of
               the date of distribution. Any distributions which are undeliverable
               and unclaimed or have not been cashed within the time period set
               forth above shall be retained as Property of and available to the
               Reorganized Debtor.
            7. means of effectuating the plan
               7.1. Source of Funds to Eﬀectuate Plan. The source of funds
               used in this Plan to fund payments to creditors shall be the Net
               Monthly Income of the Reorganized Debtor resulting from


                                              16
Case 13-02162-RLM-11    Doc 158      Filed 09/02/14      EOD 09/02/14 14:17:22         Pg 17 of 26



               continued, normal business operations of the Debtor’s rental
               homes beginning on the last day of the month in which the
               Eﬀective Date occurs.
               7.2. Feasibility. Section 1129(a)(11) of the Bankruptcy Code
               provides that a Chapter 11 plan may be confirmed only if the
               bankruptcy Court finds that such plan is feasible. This Plan will
               provide a greater creditor distribution to creditors than if the
               Debtor’s rental homes were sold in a Chapter 7 proceeding or in a
               foreclosure case. By continuing to operate, the Debtor anticipates
               no diﬃculties in generating revenue as it had been both prior to
               and after the Petition Date.
            8. executory contracts
               8.1. Eﬀective as of the Confirmation Date, with the exception of
               contracts listed on Attachment A, the Debtor hereby rejects any
               and all executory contracts and unexpired leases which have not
               previously or hereby been assumed or rejected herein. Any person
               or entity injured by such rejection shall be deemed to hold a
               General Unsecured Claim against the Debtor and, within ten (10)
               days following the Confirmation Date, shall file a proof of claim for
               any damages resulting there from, or be forever barred from
               asserting any Claim. The Debtor and all parties in interest reserve
               the right to object to any Claim asserted under this subparagraph.
               8.2. The Debtor reserves the right to apply to the Bankruptcy
               Court at any time prior to the Confirmation Date to reject any and
               all executory contracts or unexpired leases.
            9. property to be dealt with by the plan
               9.1. All Property of the Debtor is dealt with by this Plan.
            10.reservation of rights
               10.1. Notwithstanding the confirmation of this Plan the Debtor
               shall retain the right to litigate the validity and extent of any
               Claim, whether or not addressed specifically in the Plan, and shall
               retain the right to litigate the validity and extent of any Disputed
               Claims.
               10.2. Notwithstanding any other provision of this Plan, Disputed
               Claims shall be paid only if allowed after they are Finally
               Determined by the Court.
               10.3. Notwithstanding confirmation of the Plan, and pursuant to
               §1123(b)(3) of the Bankruptcy Code, the Debtor shall retain and
               have authority to enforce, waive or assign any and all claims and/


                                              17
Case 13-02162-RLM-11   Doc 158      Filed 09/02/14      EOD 09/02/14 14:17:22        Pg 18 of 26



               or causes of action under the Bankruptcy Code or non-bankruptcy
               law in the Bankruptcy Court or a state court of competent
               jurisdiction, except claims expressly waived, relinquished or
               released under this Plan or otherwise released or relinquished
               under this Plan or otherwise released or relinquished pursuant to
               an order of the Bankruptcy Court. The Debtor shall be authorized
               to prosecute such actions as fully and completely as if the same
               were being prosecuted by a trustee in bankruptcy.
               10.4. Upon confirmation, the Debtor shall be re-vested with his
               Property, subject only to any outstanding liens recognized by this
               Plan, and shall be entitled to manage its aﬀairs in the normal
               course, without further order of the Court.
               10.5. Prior to the Confirmation Date, the Debtor may, with the
               approval of the Bankruptcy Court, amend or modify this Plan at
               any time upon notice to holders of Claims or Equity Interests
               whose interests may be adversely aﬀected by said amendment or
               modification. The Plan may be modified by the Debtor only,
               subsequent to the Confirmation Date, upon notice and a hearing,
               in order to eﬀectuate the intent and purposes of the Plan.
               10.6. The confirmation hearing may be continued from time to
               time. No notice of any such continuance will be provided other
               than notice at the hearing and any continued hearing to those in
               attendance.
               10.7. The failure by the Debtor to object to, or to examine any
               Claim for the purpose of voting, shall not be deemed to be a
               waiver of the Debtor’s right to object to, or re-examine a Claim in
               whole or in part.
            11. jurisdiction of the court
               11.1. The Bankruptcy Court will retain jurisdiction until
               Consummation of the Plan for—but not limited to—the following
               purposes:
                    11.1.1. To adjudicate all controversies concerning the
               classification of any Claim and the re-examination of Claims which
               have been allowed for purposes of voting, and objections as may be
               filed to creditor’s Claims;
                   11.1.2. To hear and determine all Claims arising from the
               rejection of any executory contract or unexpired lease and to
               consummate the rejection thereof;




                                             18
Case 13-02162-RLM-11    Doc 158      Filed 09/02/14      EOD 09/02/14 14:17:22         Pg 19 of 26



                    11.1.3. To determine all questions and disputes regarding title
               to the Property of the estate, and to determine all causes of action,
               controversies, disputes, or conflicts, whether or not subject to
               action pending as of the date of confirmation, between the Debtor
               and any other party, including, but not limited to, any right of the
               Debtor to pursue Claims and recover Property pursuant to the
               provisions of the Bankruptcy Code and non-bankruptcy law. In
               addition, the Court’s power shall include, but not be limited to,
               the power to hear, determine and approve settlements of such
               litigation; appoint, designate or approve a disbursing agent or
               agents to receive the proceeds of such claims subject to further
               order of the Court; hear, determine and allow the payment of
               expenses incidental to such Claims; and to make such other orders
               and determinations as may be reasonable and proper in the
               premises;
                   11.1.4. To adjudicate all Claims to a security or ownership
               interest in any Property of the Debtor, or in any proceeds thereof;
                   11.1.5. To liquidate damages or estimate Claims in connection
               with any disputed, contingent or unliquidated Claim;
                   11.1.6. To correct any defect, cure any omission, or reconcile
               any inconsistency in this Plan or the Order of Confirmation as may
               be necessary to carry out the purposes and intent of this Plan;
                  11.1.7. To modify this Plan after confirmation pursuant to the
               Bankruptcy Rules and the Bankruptcy Code;
                  11.1.8. To enforce and interpret or construe the terms and
               conditions of this Plan or any order previously entered herein;
                  11.1.9. To ensure that the purpose and intent of this Plan are
               eﬀectuated;
                   11.1.10. To enter any order, including injunctions, necessary to
               enforce the title, rights, and powers of the Debtor, and to impose
               such limitations, restrictions, terms and conditions of such title,
               rights and powers as the Bankruptcy Court may deem necessary;
                   11.1.11. To determine and allow all expenses of administration
               incurred prior to, on, or after the Confirmation Date, including all
               requests for compensation of fees and expenses by Debtor’s
               counsel and accountant.
                   11.1.12. To determine whether a default has occurred under
               the Plan, and make such orders as the Bankruptcy Court deems
               necessary to enforce the provisions of the Plan including, but not


                                              19
Case 13-02162-RLM-11    Doc 158      Filed 09/02/14       EOD 09/02/14 14:17:22         Pg 20 of 26



               limited to, ordering a modification of the Plan or conversion of the
               Case to a case under Chapter 7 of the Bankruptcy Code or such
               other relief as may be appropriate; and
                  11.1.13. To enter an order of Consummation Of The Plan and
               order closing this Case concluding and terminating this Case.
            12. effect of confirmation of the plan
               12.1. On Confirmation of the Plan, pursuant to §1141 of the
               Bankruptcy Code, and except as otherwise provided by the Plan or
               the Order of Confirmation:
                   12.1.1. The payments and distributions made pursuant to the
               Plan shall be in full and final satisfaction, settlement, release, and
               discharge as against the Debtor of any and all Claims against, and
               Equity Interests in the Debtor, as defined in the Bankruptcy Code,
               including, without limitation, any Claim or Equity Interests
               accrued on or before the Confirmation Date, whether or not: (i) a
               proof of claim or interest is filed or deemed filed under § 501 of
               the Bankruptcy Code, (ii) such Claim or Equity Interests is
               allowed under § 502 of the Bankruptcy Code, or (iii) the holder of
               such Claim or Equity Interests has accepted the Plan.
                   12.1.2. The Debtor’s Property shall be free and clear of all
               liens, Claims and interest of creditors and the Debtor shall be
               discharged from any and all obligations and liabilities on account
               of such Claims, except for obligations under this Plan. All holders
               of Claims and their successors and assigns, shall be permanently
               enjoined after the Confirmation Date from asserting against the
               Debtor or the Reorganized Debtor—or any of the Property—any
               Claims or interests based upon any act or omission, transaction or
               other activity of any kind or nature that occurred prior to the
               Confirmation Date.
            13. Exculpation
               13.1. Except for acts or omissions constituting gross negligence or
               willful misconduct, the Debtor and his partners, employees,
               agents, and professionals (acting in such capacity on and after the
               Petition Date) shall neither have nor incur any liability to any
               Person or Entity for any act taken, or omitted to be taken, prior to
               or after the Petition Date in connection with, or related to,
               formulating, negotiating, preparing, disseminating, implementing,
               administering, confirming, or consummating the Plan, and
               Disclosure Statement, or any contract, instrument, release, or any
               other agreement or document created, or entered into, in


                                              20
Case 13-02162-RLM-11    Doc 158      Filed 09/02/14     EOD 09/02/14 14:17:22         Pg 21 of 26



               connection with the Plan, or any other act taken, or omitted to be
               taken, prior to or after the Petition Date in connection with, or in
               contemplation of the Chapter 11 Case.
            14. miscellaneous provisions
               14.1. Eﬀectuating Documents and Further Transactions. The
               Reorganized Debtor are authorized to execute, deliver, file or
               record such contracts, instruments, releases, indentures, UCC
               filings, certificates of title, and other agreements or documents,
               and take such actions as may be necessary or appropriate to
               eﬀectuate and further evidence the terms and conditions of the
               Plan.
               14.2. Exemption from Transfer Taxes. Pursuant to § 1146(c) of
               the Bankruptcy Code, the issuance, transfer or exchange of notes
               or issuance of debt under the Plan, the creation of any mortgage,
               deed of trust or other security interest, the making or assignment
               of any lease or sublease, or the making or delivery of any deed or
               other instrument of transfer under, in furtherance of, or in
               connection with the Plan, shall not be subject to any stamp, real
               estate transfer, mortgage recording or other similar tax. All sale
               transactions consummated by the Debtor and approved by the
               Bankruptcy Court on and after the Petition Date through and
               including the Eﬀective Date, including, without limitation, the
               sales, if any, by the Debtor of owned Property or assets pursuant
               to § 363(b) of the Bankruptcy Code, shall be deemed to have been
               made under, in furtherance of, or in connection with the Plan and,
               therefore, shall not be subject to any stamp, real estate transfer,
               mortgage recording or other similar tax.
               14.3. Post-Eﬀective Date Fees and Expenses. From and after the
               Eﬀective Date, the Reorganized Debtor shall, in the ordinary
               course of business and without the necessity of any approval by
               the Bankruptcy Court, pay the reasonable fees and expenses of
               professional persons thereafter incurred by the Reorganized
               Debtor, including, without limitation, those fees and expenses
               incurred in connection with the implementation and
               consummation of the Plan.
               14.4. Payment of Statutory Fees. All fees payable pursuant to 28
               U.S.C. § 1930, as determined by the Bankruptcy Court at the
               confirmation hearing, shall be paid on the Eﬀective Date.
               14.5. Request for Confirmation Under §1129(b). If all the
               applicable requirements of §1129(a), other than §1129(a)(8)



                                             21
Case 13-02162-RLM-11    Doc 158      Filed 09/02/14     EOD 09/02/14 14:17:22         Pg 22 of 26



               relating to an impaired class, are met with respect to the Plan, the
               Debtor requests that the Court find that the Plan does not
               discriminate unfairly and is fair and equitable with respect to each
               class of claims or interests that is impaired under and has not
               accepted the Plan. Upon such finding, the Court is requested to
               confirm the Plan pursuant to §1129(b) notwithstanding the failure
               of such impaired class to accept the Plan.
               14.6. Amendment or Modification of the Plan. Alterations,
               amendments or modifications of or to the Plan may be proposed in
               writing by the Debtor or Reorganized Debtor at any time prior to
               the Confirmation Date, provided that the Plan, as altered,
               amended or modified, satisfies the conditions of §§1122 and 1123
               of the Bankruptcy Code, and the Debtor shall have complied with
               §1125 of the Bankruptcy Code. The Plan may be altered, or
               modified by the Debtor only at any time after the Confirmation
               Date and before Consummation of the Plan, provided that the
               Plan, as altered, amended or modified, satisfies the requirements
               of §§1122 and 1123 of the Bankruptcy Code and the Bankruptcy
               Court, after notice and a hearing, confirms the Plan, as altered,
               amended or modified, under §1129 of the Bankruptcy Code and
               the circumstances warrant such alterations, amendments or
               modifications. A holder of a Claim that has accepted the Plan shall
               be deemed to have accepted the Plan, as altered, amended or
               modified, if the proposed alteration, amendment or modification
               does not materially and adversely change the treatment of the
               Claim of such holder.
               14.7. Severability. In the event that the Bankruptcy Court
               determines that any provision in the Plan is invalid, void or
               unenforceable, such provision shall be invalid, void or
               unenforceable with respect to the holder or holders of such Claims
               or Equity Interests as to which the provision is determined to be
               invalid, void or unenforceable. The validity, voidness or
               unenforceability of any such provision shall in no way limit or
               aﬀect the enforceability and operative eﬀect of any other provision
               of the Plan.
               14.8. Revocation or Withdrawal of the Plan. The Debtor
               reserves the right to revoke or withdraw the Plan prior to the
               Confirmation Date. If the Debtor revokes or withdraws the Plan
               prior to the Confirmation Date, then the Plan shall be deemed null
               and void. In such event, nothing contained herein shall constitute
               or be deemed a waiver or release of any such Claims by or against
               the Debtor or any other person or entity or to prejudice in any


                                             22
Case 13-02162-RLM-11   Doc 158       Filed 09/02/14     EOD 09/02/14 14:17:22       Pg 23 of 26



               manner the rights of the Debtor or any person or entity in any
               further proceedings involving the Debtor.
               14.9. Binding Eﬀect. The Plan shall be binding upon and inure to
               the benefit of the Debtor and the Reorganized Debtor, the holders
               of Claims and their respective successors and assigns.
               14.10. Notices. All notices, requests and demands to or upon the
               Debtor, on and after the Eﬀective Date, or the Reorganized
               Debtor, to be eﬀective shall be in writing and unless otherwise
               expressly provided herein shall be deemed to have been duly given
               or made when actually delivered or, in the case of notice by
               facsimile transmission, when received and telephonically
               confirmed, addressed as follows:
                       Stephen Schmaltz
                       3211 West Bethel
                       Muncie, IN 47304
                       !
                       with a copy to:
                       Jeﬀrey M. Hester
                       tucker hester
                       baker & krebs, llc
                       One Indiana Square, Suite 1600
                       Indianapolis, IN 46204
                       317.833.3031 fax
               14.11. Governing Law. Except to the extent the Bankruptcy Code,
               Bankruptcy Rules or other federal law is applicable, or to the
               extent an exhibit to the Plan provides otherwise, the rights and
               objections arising under this Plan shall be governed by, and
               construed and enforced in accordance with, the laws of the State
               of Indiana, without giving eﬀect to the principles of conflicts of
               law of such jurisdiction.
               14.12. Withholding and Reporting Requirements. In connection
               with the Consummation Of The Plan, the Debtor or Reorganized
               Debtor—as the case may be—shall comply with all withholding
               and reporting requirements imposed by any federal, state, local or
               foreign taxing authority and all distributions hereunder shall be
               subject to any such withholding and reporting requirements.
               14.13. Subordination Rights. The classification and manner of
               satisfying all Claims under the Plan takes into consideration all
               contractual, legal and equitable subordination rights, whether
               arising under general principles of equitable subordination, § 510




                                             23
Case 13-02162-RLM-11     Doc 158       Filed 09/02/14         EOD 09/02/14 14:17:22       Pg 24 of 26



                of the Bankruptcy Code or otherwise, that a holder of a Claim may
                have against other holders of Claims.
                14.14. Headings. Headings are used in the Plan for convenience
                and reference only, and shall not constitute a part of the Plan for
                any other purpose.
                14.15. Filing of Additional Documents. On or before
                Consummation of The Plan, the Debtor shall file with the
                Bankruptcy Court such agreements and other documents as may
                be necessary or appropriate to eﬀectuate and further evidence the
                terms and conditions of the Plan.
                !
                !
                Date: July 25, 2014                      /s/ Stephen Schmaltz
                !
                !
                                                          Respectfully submitted,
                                                          !
                                                          tucker hester
                                                          baker & krebs, llc
                                                          !
                                                          !
                                                          /s/ Jeﬀrey M. Hester
                                                          Jeﬀrey M. Hester
                                                          Suite 1600
                                                          One Indiana Square
                                                          Indianapolis, IN 46204
                                                          jhester@thbklaw.com
                                                          317.608.1129 direct
                                                          317.833.3031 fax
                                                                        !
                                      Certificate Of Service

            I hereby certify that on July 25, 2014, a copy of the foregoing Debtor’s
            Plan of Reorganization was filed electronically. Notice of this filing will
            be sent to the following parties through the Court’s Electronic Case
            Filing System. Parties may access this filing through the Court’s
            system.
            !
            U.S. Trustee
            ustpregion10.in.ecf@usdoj.gov
            !
                                                24
Case 13-02162-RLM-11    Doc 158       Filed 09/02/14       EOD 09/02/14 14:17:22   Pg 25 of 26



            Jeﬀrey M. Hester
            jhester@thbklaw.com
            !
            John Philp Updike
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            !
            KC Cohen
            kc@esoft-legal.com
            !
            Joseph F. McGonigal
            Joe.mcgonigal@usdoj.gov
            !
            Teresa E. Dearing
            terry@fouttyandfoutty.com
            !
            !
            !
            !
                                                       /s/ Jeﬀrey M. Hester
                                                       Jeﬀrey M. Hester
                                                       !
            !




                                             25
Case 13-02162-RLM-11    Doc 158       Filed 09/02/14    EOD 09/02/14 14:17:22   Pg 26 of 26



                                        Attachment A
                                   List of Assumed Contracts
            !
            1. To be determined.
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